                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 1:12-00010
                                                    )      Judge Trauger
[5] DEREK WAYNE TURNER                              )
                                                    )

                                           ORDER

         It is hereby ORDERED that a change of plea hearing is scheduled for Tuesday, April 30,

2013, at 2:30 p.m.

         It is so ORDERED.

         ENTER this 19th day of April 2013.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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